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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           NORTHERN DIVISION
                                 ------

UNITED STATES OF AMERICA,

                Plaintiff,                                No. 2:23-cr-13

         vs.                                              Hon. Paul L. Maloney
                                                          U.S. District Judge
STEPHEN JAMES WEBSTER,                                    Hon. Maarten Vermaat
                                                          U.S. Magistrate Judge
               Defendant.
________________________________/

                GOVERNMENT’S MOTION FOR DETENTION

      The United States moves for pretrial detention of defendant. Under 18 U.S.C.

§ 3142(f)(1)(A), defendant is charged with a crime of violence. United States v.

Thompson, No. 12-CR-20656, 2015 WL 1780801, at *7 (E.D. Mich. Apr. 20, 2015)

(concluding Michigan assault with intent to do great bodily harm and/or assault by

strangulation qualifies as crime of violence under USSG § 4B1.2’s elements clause).

Therefore, the court “shall hold a hearing to determine whether any condition or

combination of conditions . . . will reasonably assure the appearance of such person

as required and the safety of any other person and the community.” 18 U.S.C.

§ 3142(f). Under § 3142(f)(2), the United States moves for a continuance of 3 days to

prepare for the hearing.

                                       Respectfully submitted,

                                       MARK A. TOTTEN
                                       United States Attorney

Dated: November 15, 2023               /s/ Theodore J. Greeley
                                       THEODORE J. GREELEY
                                       Assistant United States Attorneys
